Case 19-00149-SMT          Doc 67    Filed 06/17/19 Entered 06/17/19 19:09:48             Desc Main
                                    Document      Page 1 of 6



                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF COLUMBIA


In re:                                         )
                                               )
THOMAS STEPHENSON,                             )       Case No. 19-00149
                                               )
                Debtor                         )       (Chapter 11)
                                               )
____________________________________



                     DISTRICT OF COLUMBIA’S MOTION FOR
         (1) ENTRY OF AN ORDER SHORTENING THE NOTICE AND OBJECTION
            PERIODS WITH RESPECT TO DISTRICT OF COLUMBIA’S MOTION TO
           APPOINT TRUSTEE AND (2) ENTRY OF AN ORDER FOR AN EXPEDITED
         HEARING ON DISTRICT OF COLUMBIA’S MOTION TO APPOINT TRUSTEE

         The District of Columbia (“District”), a creditor and party in interest herein, by and

through its attorneys, the Office of the Attorney General for the District of Columbia, hereby

files its Motion for Entry of an Order Shortening the Notice and Objection Periods with respect

to the District’s Motion to Appoint Trustee pursuant to Rule 2002-1(b)(2) of the Local Rules of

the United States Bankruptcy Court for the District of Columbia (“LBR”), setting the deadline to

file Objections, if any, to the relief requested in the District’s Motion to Appoint Trustee by close

of business on Monday, June 24, 2019; and scheduling the hearing to consider the District’s

Motion to Appoint Trustee on Monday, July 2, 2019 at 2:00 p.m. In support whereof, the

District respectfully represents as follows:

                                         JURISDICTION

         (1) This Court has jurisdiction over this proceeding pursuant to 28 U.S.C. § 157,

28 U.S.C. § 1334, and 11 U.S.C. § 1104 et seq. This is a core proceeding pursuant to 28 U.S.C.

§ 157(b). Venue is proper before this court pursuant to 28 U.S.C. §§ 1408 and 1409.
Case 19-00149-SMT          Doc 67     Filed 06/17/19 Entered 06/17/19 19:09:48            Desc Main
                                     Document      Page 2 of 6



                                                PARTIES

          (2) The District, a municipal corporation empowered to sue and be sued, is the local

government for the territory constituting the permanent seat of the government of the United

States.

          (3) Debtor, Thomas Stephenson (“Debtor”), is a retired District of Columbia police

officer who owns, operates, manages, leases and otherwise controls a number of real properties.

Pursuant to Debtor’s Schedules of Assets and Liabilities filed on March 27, 2019, Docket Entry

No. 24, the properties are as follows: 711 49th Street, N.E., Washington, DC 20019; 719 49th

Street, N.E., Washington, DC 20019; 4815 Kansas Avenue, N.W., Washington, DC 20011; 5128

Sheriff Road, N.E., Washington, DC 20019; 5134 Sheriff Road, N.E., Washington, DC 20019;

and 11005 Eastern Avenue, Capitol Heights, Maryland 20743.

                                 I. STATEMENT OF FACTS
          (4) On January 16, 2019, Debtor filed for protection under Chapter 13 of the United

States Bankruptcy Code (“Bankruptcy Code”), 11 U.S.C. § 101 et seq. Bankruptcy Case No. 19-

00043, Docket Entry No. 1. The Chapter 13 proceeding was dismissed on March 8, 2019,

pursuant to the Chapter 13 Trustee’s Motion to Dismiss for Failure to Qualify for Relief Under

Chapter 13 because Debtor’s non-contingent, liquidated secured debts in the amount of

$1,484,739.00, were in excess of the secured debt limit of $1,184,200 set forth in 11 U.S.C.

§ 109(e). Bankruptcy Case No. 19-00043, Docket Entry No. 22.

          (5) On March 12, 2019, Debtor filed this case seeking relief under Chapter 11 of the

Bankruptcy Code.

          (6) As set forth in the District’s Motion to Appoint Trustee, Debtor in his two back-to-

back bankruptcy cases has not been transparent, forthright, or candid. As described in the

                                                   2
Case 19-00149-SMT         Doc 67     Filed 06/17/19 Entered 06/17/19 19:09:48             Desc Main
                                    Document      Page 3 of 6



District’s Motion to Appoint Trustee, Debtor failed to schedule all of his assets and liabilities, as

well as to state forthrightly and accurately the status of his employment. See District’s Motion to

Appoint Trustee at 11-13, 17-20.

       (7) Several matters have come to the District’s attention that the District deems require

this Court to take expeditious action and appoint a trustee promptly. Specifically, as the District

stated in its Motion to Appoint Trustee, most concerning currently is Debtor’s complete failure

to account for all monies that should be paid into Debtor’s bankruptcy estate. As reflected in the

docket filings in his Chapter 11 bankruptcy case to date, as well as in his testimony at the Section

341 creditors meetings, Debtor does not appear to have established a debtor-in-possession bank

account where rental income, or any other income belonging to the estate, is being deposited.

Debtor has not filed any monthly operating reports as required by Rule 2015-1 of the Local

Rules of Bankruptcy Procedure, LBR 2015-1. Further, Debtor has failed “[t]o keep a record of

receipts and the disposition of money and property received” as required by Rule 2015(a)(2) of

the Federal Rules of Bankruptcy Procedure, Fed. R. Bankr. Pro. 2015(a)(2). See also Section

308(b) of the Bankruptcy Code, 11 U.S.C. § 308(b).

       (8) Another issue that has raised great concern for the District is reports from Debtor’s

Receiver, as well as the tenants informing the District’s consumer protection attorneys, that Mr.

Stephenson and individuals associated with him are harassing tenants and pressuring them to

sign move-out agreements under the false pretense that there is a contract for a sale of the

property which was allegedly approved by a judge. Additionally, many tenants have been

promised $3,000 (or, in some cases, more money) within the next few weeks if they sign these

agreements. It is unclear whether any tenants have signed an agreement waiving their rights

under Tenants Opportunity to Purchase Act, D.C. Official Code § 42–3404.01

                                                  3
Case 19-00149-SMT         Doc 67     Filed 06/17/19 Entered 06/17/19 19:09:48            Desc Main
                                    Document      Page 4 of 6



         (9) Prior to the District’s filing its Motion to Appoint Trustee on Thursday, June 13, 2019,

Debtor had failed to disclose that he entered into a Sales Contract on June 5, 2019, and that he

was seeking to borrow additional funds. Thus, as of June 13, 2019, Debtor had undertaken

entering into a sales contract and seeking to borrow additional funds without notice to Debtor’s

creditors providing the creditors with an opportunity to object and without notice to the Court

depriving the Court of its authority to approve this transaction. Debtor filed a Motion to Borrow

four days after the District’s Motion to Appoint Trustee on June 17, 2019. See Docket Entry No.

65.

         (10) That Debtor filed a Motion to Borrow does not rectify or change that Debtor has

conducted his Chapter 11 bankruptcy with inaccuracies, omissions, and obfuscations.

         WHEREFORE, the District of Columbia respectfully requests that the Court enter an

Order:

         (a) Shortening the notice period and opportunity to object on the District of Columbia’s

            Motion to Appoint Trustee to on or before Monday, June 24, 2019;

         (b) Setting an expedited hearing on District of Columbia’s Motion to Appoint Trustee for

            Tuesday, July 2, 2019, at 2:00 p.m.; and

         (c) For such other and further relief as the Court deems just.

Date: June 17, 2019


                                       Respectfully submitted,

                                       KARL A. RACINE
                                       Attorney General for the District of Columbia

                                       DAVID FISHER
                                       Deputy Attorney General


                                                  4
Case 19-00149-SMT   Doc 67    Filed 06/17/19 Entered 06/17/19 19:09:48          Desc Main
                             Document      Page 5 of 6




                                             /s/ William Burk
                               WILLIAM BURK, D.C. Bar No. 325274
                               Chief, Land Acquisition and Bankruptcy Section


                                               /s/ Nancy L. Alper
                               NANCY L. ALPER, D.C. Bar No. 411324
                               Senior Assistant Attorney General
                               Land Acquisition and Bankruptcy Section
                               441 4th Street, N.W., Suite 1010S
                               Washington, D.C. 20001
                               (202) 724-8122
                               nancy.alper@dc.gov




                                         5
Case 19-00149-SMT           Doc 67    Filed 06/17/19 Entered 06/17/19 19:09:48         Desc Main
                                     Document      Page 6 of 6




                                 CERTIFICATE OF SERVICE

       I hereby certify that I did serve a copy of the foregoing Chapter 7 Trustee’s Motion for
Emergency Hearing and to Shorten Notice Period on June 17, 2019, electronically via the
Court’s ECF system upon the following:

Thomas K. Stephenson
711 49th Street, NE
Apt #1A
Washington, DC 20019-4815

Charles M. Maynard
401 East Jefferson Street
Suite 208
Rockville, MD 20850

Joseph A. Guzinski
DOJ-UST
1725 Duke St.
Suite 650
Alexandria, VA 22314

Benjamin P. Smith
Shulman, Rogers et al.
12505 Park Potomac Avenue
6th Floor
Potomac, MD 20854

Jessica Sadler
Ballard Spahr
1909 K Street, N.W.
12th Floor
Washington, DC 20006




                                                6
